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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

JOAN WHITNEY
            Plaintiff,

      vs.                                           CASE NUMBER:
                                                    8:11-CV-00357-JSM-AEP

NRA GROUP, LLC (a foreign
limited liability company)
                    Defendants.
______________________________/

       JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

      COME NOW, the Parties herein, by and through their undersigned counsel,
and will represent to the Court that this matter has been amicably settled, and
would request entry of a Final Order of Dismissal With Prejudice in this matter,
with each party to bear their own costs and attorneys’ fees.


DATED this 2nd day of December, 2011.

/s/ James S. Giardina                        /s/ Sangeeta P. Spengler
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